Case 22-16749-JNP                        Doc 150    Filed 05/02/25 Entered 05/02/25 15:33:29                                                 Desc Main
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                                             UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF NEW JERSEY

 In Re:                                                                                :
 Atlantic Party Rental, LLC                                                            :           Case No.:                     22-16749
                                                                                       :
                                                          Debtor(s).                   :           Chapter:                              7
                                                                                       :

                              CERTIFICATION OF NOTICING FEES
                  AND INVOICE FOR COLLECTION OF ADMINISTRATIVE EXPENSES

              The United States Bankruptcy Court is required by federal law to charge miscellaneous fees for
 certain tasks related to the Court's operation (e.g. $.50 for each notice it mails), therefore;

              IT IS NOTICED that the Trustee shall conventionally file with the Clerk a copy of this notice
 along with a check1 (payable to "Clerk, United States Bankruptcy Court") for the following charges
 incurred to date:
 NOTICES:
    0     Notices at $.50 each (for notices sent prior to 1/1/98)
                                                              Total Notice Charges Due:                                               0.00
                                                                                                                                    $ ____________


 PROOFS OF CLAIM:
          0           Claim(s) at $.25 each (for each claim in excess of 10 filed prior to 1/1/98)
                                                                                                                0.00
                                                                                    Total Claims Charges Due: $ ____________

 DEFERRED FEES
 N/A




                                                                                    Total Deferred Fees Due:                          0.00
                                                                                                                                    $ ____________

                                                 TOTAL ADMINISTRATIVE CHARGES DUE                                                     0.00
                                                                                                                                    $ ____________


 Date: 5/2/2025                                                                        JEANNE A. NAUGHTON, Clerk

                                                                                           /s/ Linda Martin
                                                                                       BY: ___________________________
                                                                                                                                               rev. 1/09/17.jml




              1
                  The payment of fees must be in the form of a corporate check, attorney trust account check, certified check or money
 order.
